Case 1:21-cv-06400-JPC Document 36

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
NICK GIOULES,

Plaintiff,
-against-

ANTIGUA PHARMACY LLC, and BRENDALIS
ANTIGUA

 

Defendants.
X
STATE OF NEW YORK )
)ss.:
COUNTY OF QUEENS )

Filed 02/10/22 Page 1of1

Case No.: 1:21-cv-6400 (JCP) (SDA)

AFFIDAVIT OF SERVICE

ZOE CABALLERO, being duly sworn, deposes and says:

That deponent is not a party to the action is over 18 years of age and is employed in Queens, New

York.

That on the 10'" day of February, 2022 deponent served the within this DECLARATION IN
SUPPORT OF MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANTS by
depositing a copy thereof enclosed in a postpaid addressed wrapper, in an official depository under
the exclusive care and custody of the United States Postal Service within New York State

addressed to the following person at the last known address furnished by them:

ANTIGUA PHARMACY LLC BRENDALIS ANTIGUA
1961 Southern Boulevard c/o ANTIGUA PHARMACY LLC
Bronx, New York 10460 7 1961 Southern Boulevard

7015 1120 0000 3845 b7b0
Sworn to before me this
10" day of February 2022

Poth So

Je ae Notary YY

 

KAROLINA SZYMANOWSKA
NOTARY PUBLIC. STATE OF NEW YORK
Registration No, 0iSZ6366644
Qualified in Queens County
Commission Expires November 6, 2024

 

 

 

Bronx, New York 10460 _
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